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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 8:16CR62

      vs.
                                                                 ORDER
FRANCISCO GOMEZ,

                     Defendant.


      At the initial appearance of the defendant on the charges contained in the
indictment on file, the United States moved to detain the defendant without bail pending
trial on the basis that he was a flight risk and a danger to the community. At the time of
his initial appearance before the court, the defendant was in the custody of Colorado
state authorities on state charges. Accordingly,
      IT IS ORDERED:
      The government's motion for detention of Francisco Gomez pursuant to the Bail
Reform Act is held in abeyance pending the defendant's coming into federal custody.

       DATED this 3rd day of November, 2016.

                                          BY THE COURT:

                                          s/ Thomas D. Thalken
                                          United States Magistrate Judge
